                       UNITED STATES BANKRUPTCY COURT FOR THE
                                                                                 MAY 1 9 2025
                                    DISTRICTOFARIZONA
                                                                                 UNITED STATES
                                                                               BANKRUPTCYCOURT
                                                                          FORTHE DISTRICTOFARIZ;
 In re:                                          ) Chapter 7 Bankruptcy

                                                 )

 Tiffany Ann West,                             ) 25-BK-03613PC

                                     Debtor. }
                                               } Adv.Proc.No: 2.5-^- \\s\)-^
                                               ) Honorable
 TiffanyAnn West,                              )

                                     Plaintiff )
 V.                                            )

 United States Department Of Education, )

                                  Defendant. )



COMPLAINT TO DETERMINE DISCHARGEABILIPI' OF STUDENT LOAN


          1. The Debtor. Tiffany Ann West, brings this action, pro se, forthe discharge of
her federal student loan debt under the "undue hardship" provision set out in 11 U. S. C.
§523(a)(8).
      2. The Debtorfiled this case underchapter7 ofthe Bankruptcy CodeonApril 24,
2025. This Court thus has jurisdiction over this action under 28 U. S.C. §1334. This
proceeding is a core proceeding. The Debtor consents to the entry affinal orders of
judgment by the Bankruptcy Court in this matter.
          3. One of the unsecured debts owed by the Debtor and listed in Schedule E/F is




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       5. This loan in the original amount of $73, 659. 62 was incurred to pay tuition and
provide funds for necessary school related supplies at Un'iversity of Phoenix to obtain a
Bachelor's Degree in Criminal Justice and Grand Canyon University to obtain a Masters
Degree in Behavioral Science. Debtor enrolled with University of Phoenix in 2009 in
which she obtained her Associates Degree in 2011. Debtor then enrolled into the
Bachelors program in 2011 and withdrew from the Bachelor's program at University of
Phoenix in September of 2013 when she was informed by University of Phoenix that
theywould not assist her injob placement after receiving herAssociates Degree as she
was promised when she enrolled. She never returned to complete her Bachelor's
degree due to lack of support as promised and after being informed of the class action
lawsuit against University of Phoenix in which she was notified that she was to be
included in and would be informed of actions being taken including her student loans
being forgiven due to the misrepresentation and price gouging by University of Phoenix.
After years passing and the inability to communicate with anyone regarding the lawsuit
and applying for loan forgiveness on two separate occasions with the most recent one
being in December of 2022, she enrolled at Grand Canyon University in Juneof 2023 in
the hopes of obtaining a degree in a field that would better provide for her and her
family. Debtorwas forced to withdraw from Grand Canyon University in September of
2023 dueto being atthe maximum borrowing amount dueto over-charge by University
of Phoenix and the inability to fund the tuition costs on her own.
       6. Prior to withdrawing from University of Phoenix. Debtor worked in the auto
parts industry, and was never able to find emptoyment in the area of criminal justice
afterobtaining herAssociates Degree and was informed that University of Phoenix is
not considered an accredited college in which she was not when she enrolled with
University of Phoenix. She's aware tlrat not possessing any degree higtierthan an
Associates Degree in either of the mentioned fields, makes it impossible for her to
obtain employment that would allow her to make a decent sustainable wage. In the past
10years, she'sworked inthe auto parts industry, behavioral health, and currently works
in child deveJopment/sodal work. Debtor is currently employed however, earns



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approximately forty eight percent below the median household income in the state of
Arizona where she resides. Debtor provides financial support and also cares for her
adult son who is diagnosed with schizoaffective disorder (bi-polar type), depression, and
anxiety.

       7. The Debtor's long-term financial situation is unlikely to improve due to the
minimal wages that are offered in the area she resides. Debtor has not been able to
obtain employment that would pay her a living wage without obtaining a minimum of a
bachelor's degree or additional braining. She feels very stagnant career-wise and
financially. The cost of Ih/ingcontinues to increase, and she has no opportunities to
obtain a better wage with an alternate employer as she is currently earning a higher
wage than what is normally offered in her area.
       8. The Debtor hasdemonstrated good faith with regard to repayment ofthe
student loan debt. Her student loans have been in forbearance due to not having the
abilityto repaythe student loan debtdueto tackof income. Sheis proactive in ensuring
her account is in good standing and is in contact with the Department Of Education
when it is necessary. The Debtorhasalso madegoodfaithefforts to obtain employment
with a higherwageto maximize her income as well as has minimized expenses.
       9. The Debtor currently does not have any extra available income or resources
with which to pay the aforementioned loan and any payments on that loan could be
made only at a great hardship to the Debtor. Excepting the loans from discharge would
impose an undue hardship.


WHEREFORE, the Debtor asks that this Court enter an Order declaring the student
loan debt ofthe Debtor to be dischargeable in this case.


Dated: May 8, 2025


Respectfully Filed,
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